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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
Vv. Protective Order

KEITH VEREEN, and 22 Cr. 644 (JSR)
STEVEN PEREZ, a/k/a “Lucha,”

Defendants.

Upon the application of the United States of America, with the consent of the undersigned
counsel, the Court hereby finds and orders as follows:

1. Sensitive Material. The Government has made and will make disclosure to the
defendants of documents, objects, and/or information, including electronically stored information
(“ESI”), as a courtesy, or pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500,
and the Government’s general obligation to produce exculpatory and/or impeachment material in
a criminal case. Certain of that material may include that which (i) affects the privacy,
confidentiality and of individuals; (ii) would impede, if prematurely disclosed, the Government’s
ongoing investigation of uncharged individuals; (iii) would risk prejudicial pretrial publicity if
publicly disseminated; (iv) may be produced with more limited redactions than would otherwise
be necessary; and (v) that is not authorized to be disclosed to the public or disclosed beyond that
which is necessary for the defense of this criminal case. Discovery materials produced by the
Government to the defendants or their counsel that are either (1) designated in whole or in part as
“Sensitive” by the Government in emails or communications to defense counsel, or (2) that include
a Bates or other label stating “Sensitive,” shall be deemed “Sensitive Material.” The Government

may de-designate material at the request of the defendants or otherwise.

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NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

2. Sensitive Material shall not be disclosed by the defendants or defense counsel,
including any successor counsel (“the defense”), other than as set forth herein, and shall be used
by the defense solely for purposes of defending this action. The defense shall not post any
Sensitive Material on any Internet site or network site to which persons other than the parties hereto
have access, and shall not disclose any Sensitive Material to the media or any third party except
as set forth below.

3. Sensitive Material may be disclosed by counsel, consistent with the terms set forth
above, to:

a. The defendants for purposes of defending this action;

b. Personnel for whose conduct counsel is responsible, i.e., personnel employed
by or retained by counsel, as needed for purposes of defending this action; or

c. Prospective witnesses for purposes of defending this action.

4. The Government may authorize, in writing, disclosure of Sensitive Material beyond
that otherwise permitted by this Order without further Order of this Court.

5. This Order does not prevent the disclosure of any Sensitive Material in any hearing or
trial held in this action, or to any judge or magistrate judge, for purposes of this action. All public
filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1 and this
district’s ECF Privacy Policy (https://www.nysd.uscourts.gov/sites/default/files/pdf/egovtact
042005.pdf).

6. Except for Sensitive Material that has been made part of the record of this case, and

subject to defense counsel’s obligation to retain client files under the Rules of Professional

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Conduct, all documents subject to this Order must be securely destroyed or returned to the
Government’s attorneys at such time as they are not needed in this action, at the end of the criminal
proceedings (including any direct appeal, and related applications under 28 U.S.C. § 2255 or any
other collateral relief filed within one year of final judgment), or upon order of the Court,
whichever occurs first.

7. The defense shall provide a copy of this Order to prospective witnesses and persons
retained by counsel to whom the defense intends to disclose Sensitive Material. All such persons
shall be subject to the terms of this Order if they thereafter choose to review such material. Defense
counsel shall maintain a record of what Sensitive Material has been disclosed to which such
persons.

8. This Order places no restriction on a defendant’s use or disclosure of ESI or other
information that originally lawfully belonged to the defendant, except for the requirement that all
public filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1 and
this district’s ECF Privacy Policy (https://www.nysd.uscourts.gov/sites/default/files/pdf/egov

tact042005.pdf).

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Retention of Jurisdiction

9. The provisions of this Order shall not terminate at the conclusion of this criminal
prosecution, and the Court will retain jurisdiction to enforce this Order following termination of

the case.

AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney

Date: _ April 6, 2023

“Ashley C. Nicolas
Madison Reddick Smyser
Assistant United States Attorneys

SO ORDERED:

Dated: New York, New York

April (¥, 2023 oy Lf
HONORWBLE JEB-S’ RAKOFF
UNITED STATES DISTRICT JUDGE

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Consent to Entry of Protective Order

I, Edward Sapone, Esq., have read and reviewed the proposed Protective Order in the case of
United States v. Keith Vereen and Steven Perez, 22 Cr. 644 (JSR), and I consent to the entry of
the Order on behalf of my client, Keith Vereen.

Edward SaponeNgsq. )

Counsel for Keith Vereen

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Consent to Entry of Protective Order

I, Zawadi Baharanyi, Esq., have read and reviewed the proposed Protective Order in the case of
United States v. Keith Vereen and Steven Perez, 22 Cr. 644 (JSR), and I consent to the entry of
the Order on behalf of my client, Steven Perez.

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Zawadi Baharanyi, Esq. %
Counsel for Steven Perez, a/k/a “Lucha”

Amana Mayo

Amanda Mayo, Esq.
Counsel for Steven Perez, a/k/a “Lucha”

